Case: 1:20-cv-00060-MRB-KLL Doc #: 71 Filed: 03/07/22 Page: 1 of 2 PAGEID #: 880




                             UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF OHIO
                                   WESTERN DIVISION

 Michael Bradford,                            )
                                              )
         Plaintiff,                           ) Case No. 1:20-cv-00060
                                              )
         vs.                                  ) Judge Michael R. Barrett
                                              )
 Team Pizza, Inc., et al.,                    )
                                              )
         Defendants.                          )
                                              )
                                              )

                                          ORDER

       This matter is before the Court on the Plaintiff Michael Bradford's Motion to Certify

an Interlocutory Appeal. (Doc. 64). Defendants Team Pizza, Inc. and Chris Short filed a

Response in Opposition (Doc. 66), and Plaintiff filed a Reply (Doc. 68).

       Plaintiff moves this Court to certify its October 19, 2021 Order (Doc. 61), regarding

the proper standard under the Fair Labor Standards Act for an employer's reimbursement

of vehicle-related costs incurred by the employer's pizza delivery driver employees, for

interlocutory appeal under 28 U.S.C. § 1292(b). After a review of the parties' briefing on

this issue, the Court is of the opinion that its October 19, 2021 Order (Doc. 61) satisfies the

statutory prerequisites of 28 U.S.C. § 1292(b), as the Order involves a controlling question

of law, as to which there is substantial ground for difference of opinion, and an immediate

appeal from the Order may materially advance the ultimate termination of the litigation. See

28 U.S.C. § 1292(b).
Case: 1:20-cv-00060-MRB-KLL Doc #: 71 Filed: 03/07/22 Page: 2 of 2 PAGEID #: 881




      In light of the foregoing, it is hereby ORDERED that Plaintiff's Motion to Certify an

Interlocutory Appeal (Doc. 64) is GRANTED, and the Court CERTIFIES its October 19,

2021 Order (Doc. 61) for immediate appeal under 28 U.S.C. § 1292(b).

      IT IS SO ORDERED.
                                                _/s Michael R. Barrett_______
                                                Michael R. Barrett, Judge
                                                United States District Court




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